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                       UNITED STATES DISTRICT COURT
                                      District of Minnesota



Michael Vinh,                                     JUDGMENT IN A CIVIL CASE
                                Plaintiff(s),
v.                                                    Case Number: 18-cv-1679 (SRN/ECW)
Express Scripts Services Company,

                                Defendant(s).

☒ Decision by Court. This action came to trial or hearing before the Court. The issues have
  been tried or heard and a decision has been rendered.

     IT IS ORDERED AND ADJUDGED THAT:

Defendant Express Scripts Services Company’s Motion for Summary Judgment
(Doc. No. 39) is GRANTED.


     Date: 4/22/2020                                     KATE M. FOGARTY, CLERK

                                                                  s/M. Price
                                                     (By) M. Price, Deputy Clerk
